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                       UNITED STATES DISTRICT COURT

                         DISTRICT OF SOUTH DAKOTA

                                 SOUTHERN DIVISION


JEFFREY CHURCH,                                       4:19-CV-04193-KES

                    Plaintiff,

       vs.                                        ORDER DISMISSING CASE

STACE NELSON, Senator of the 19th
District of the South Dakota Senate,
individual and official capacity,

                   Defendant.


      The parties in the above-entitled case jointly move the court to dismiss

this action with prejudice, with each party to bear its own costs. Thus, it is

      ORDERED that the plaintiff’s complaint is dismissed with prejudice and

each party shall bear its own costs.

      Dated January 27, 2021.

                                       BY THE COURT:


                                       /s/ Karen E. Schreier
                                       KAREN E. SCHREIER
                                       UNITED STATES DISTRICT JUDGE
